              Case 2:08-cr-00093-KJM Document 905 Filed 02/25/14 Page 1 of 3


 1   MICHAEL D. LONG (CA State Bar #149475)
     901 H Street, Suite 301
 2
     Sacramento, CA 95814
 3   (916) 447-1920
     Mike.Long.Law@msn.com
 4
                            IN THE UNITED STATES DISTRICT COURT
 5
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 6
     THE UNITED STATES OF AMERICA,    ) No. CR 08-93 KJM
 7                   Plaintiff,       )
                                      ) STIPULATION AND ORDER
 8
          v.                          ) TO TERMINATE PRE-TRIAL RELEASE
 9                                    ) SUPERVISION
     ANH NGUYEN,                      )
10                   Defendant.       )
     ================================) Judge: Hon. Kimberly J. Mueller
11

12
            TO: BENJAMIN WAGNER, U.S. Attorney, TODD LERAS, Asst. U.S. Attorney:

13          Defendant ANH NGUYEN, by and through his attorney, Michael D. Long, and the
14   Government, by and through its attorney, Michael Anderson, stipulate as follows:
15
            Darryl Walker, the Sacramento pre-trial services officer for Anh Nguyen, has informed
16
     undersigned counsel that his Central District counterparts have determined that Anh Nguyen no
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18
     longer needs to be monitored by pre-trial services due to special circumstances related to the

19   debilitating stroke he suffered in July of 2013. AUSA Anderson and defense counsel agree that

20   terminating supervision is appropriate. We stipulate that the court may modify the conditions of
21
     Mr. Nguyen’s release to delete any monitoring by pre-trial services.
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23
     Dated: February 18, 2014                             Respectfully submitted,
24

25                                                        /s/ Michael D. Long__________
                                                          MICHAEL D. LONG
26                                                        Attorney for Mr. Nguyen
27
     ///
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             Case 2:08-cr-00093-KJM Document 905 Filed 02/25/14 Page 2 of 3


 1   Dated: February 18, 2014
                                                BENJAMIN WAGNER
 2
                                                United States Attorney
 3

 4                                              /s/ Michael Anderson____
                                                MICHAEL ANDERSON
 5
                                                Assistant U.S. Attorney
 6                                              Signed by Mr. Long with the permission
                                                of Mr. Anderson
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                 Case 2:08-cr-00093-KJM Document 905 Filed 02/25/14 Page 3 of 3


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     THE UNITED STATES OF AMERICA,                   ) No. CR-08-93 KJM
 7                   Plaintiff,                      )
                                                     ) ORDER
 8
                v.                                   )
 9                                                   )
     ANH NGUYEN,                                     )
10                   Defendant.                      ) Judge: Hon. Kimberly J. Mueller
     ================================)
11

12              IT IS HEREBY ORDERED that the pre-trial release conditions for defendant Anh Nguyen
13   are modified in the following manner:
14              Anh Nguyen is no longer subject to supervision by pre-trial services as a condition of his
15   release.
16   Dated: February 25, 2014.
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19                                                     UNITED STATES DISTRICT JUDGE
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